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                                      5   Attorney for Plaintiff,
                                          JOHN WILLIAM KAIPO ENOS
                                      6   & JOHNSON ENTERTAINMENT, LLC

                                      7

                                      8                            UNITED STATES DISTRICT COURT

                                      9                          CENTRAL DISTRICT OF CALIFORNIA

                                     10

                                     11    JOHN WILLIAM KAIPO ENOS, an                  Case No. 2:23-cv-5790
                                           individual and JOHNSON
                                     12    ENTERTAINMENT, LLC, a Native                 COMPLAINT FOR INJUNCTIVE RELIEF
16133 Ventura Boulevard, Suite 675




                                           Hawaii limited liability                     AND DAMAGES:
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                                           company
     Encino, California 91436




                                     13
                                                                                        (1) COPYRIGHT INFRINGEMENT;
                                     14                Plaintiff,                       (2) STATE UNFAIR COMPETITION;
                                                                                        (3) FEDERAL UNFAIR COMPETITION;
                                     15          vs.                                        AND
                                                                                        (4) DECLARATORY RELIEF
                                     16    THE WALT DISNEY COMPANY, a
                                           Delaware corporation; DISNEY
                                     17    ENTERPRISES, INC., a Delaware                DEMAND FOR JURY TRIAL
                                           corporation; and DOES 1-10,
                                     18    inclusive,

                                     19
                                                       Defendants.
                                     20

                                     21         Plaintiffs, JOHN WILLIAM KAIPO ENOS, an individual and

                                     22   JOHNSON ENTERTAINMENT, LLC, a Native Hawaii limited liability

                                     23   company bring this Complaint against Defendants THE WALT DISNEY

                                     24   COMPANY, a Delaware corporation and DISNEY ENTERPRISES, INC., a

                                     25   Delaware corporation for damages and injunctive and declaratory

                                     26   relief based on copyright infringement (17 U.S.C. §§ 504 and

                                     27   505); California Unfair Competition (Cal. Business and

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                                                         COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1   Professions Code § 17200 et seq.); federal unfair competition

                                      2   (Lanham Act) and declaratory relief (28 U.S.C. §§ 2201 and 2202).

                                      3                                JURISDICTION AND VENUE

                                      4      1.      This Court has original jurisdiction over the subject

                                      5   matter of this action pursuant to 28 U.S.C. § 1331 (federal

                                      6   question jurisdiction”), 28 U.S.C. § 1338(a) as this matter

                                      7   arises under the laws of the United States relating to copyright,

                                      8   and 15 U.S.C. § 1121 (Lanham Act). This Court has subject matter

                                      9   jurisdiction over the related state law claim of unfair

                                     10   competition under 28 U.S.C. § 1367 (action asserting a state

                                     11   claim of unfair competition joined with a substantial and related

                                     12   federal claim under copyright laws) and the doctrines of
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                                          ancillary and pendent jurisdiction.
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                                     14      2.      Defendants are subject to personal jurisdiction of this

                                     15   Court because Defendants have, and continue to conduct business

                                     16   in California and in this judicial district.

                                     17      3.      Venue in this district is proper pursuant to 28 U.S.C. §

                                     18   1391 (b) and 28 U.S.C. § 1400 because a substantial part of the

                                     19   acts or missions giving rise to this action occurred in this

                                     20   judicial district and because Defendants conduct business within

                                     21   this judicial district.

                                     22                                            PARTIES

                                     23      4.      Plaintiff, JOHN WILLIAM KAIPO ENOS (“ENOS”) is, and all

                                     24   times mentioned herein was, an individual residing in Hawaii.

                                     25   ENOS is the founder and a principal of JOHNSON ENTERTAINMENT,

                                     26   LLC.

                                     27

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                                                         COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1      5.      Plaintiff JOHNSON ENTERTAINMENT, LLC is, and at all

                                      2   times mentioned herein was, a limited liability company organized

                                      3   and existing under the laws of the State of Hawaii.

                                      4      6.      Plaintiffs are informed and believe, and upon such

                                      5   information and belief allege, that Defendant, THE WALT DISNEY

                                      6   COMPANY is a Delaware corporation with its principal place of

                                      7   business at 500 South Buena Vista Street, Burbank, California,

                                      8   91521, duly authorized to do business in this District.

                                      9   Plaintiffs are informed and believe and upon such information and

                                     10   belief allege that Defendant, THE WALT DISNEY COMPANY produced,

                                     11   manufactured and distributed merchandise and entertainment

                                     12   depicting characters from its “Duffy and Friends” line, namely
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                                          ‘Olu or ‘Olu Mel and that such actions constitute unlawful
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                                     13

                                     14   infringement of Plaintiffs’ copyrights and constitute other

                                     15   wrongful acts, all as alleged herein.

                                     16      7.      Plaintiffs are informed and believe, and upon such

                                     17   information and belief allege, that Defendant, DISNEY

                                     18   ENTERPRISES, INC. is a Delaware corporation with its principal

                                     19   place of business at 500 South Buena Vista Street, Burbank,

                                     20   California, 91521, duly authorized to do business in this

                                     21   District. Plaintiffs are informed and believe and upon such

                                     22   information and belief allege that Defendant, DISNEY ENTERPRISES,

                                     23   INC. manufactured and distributed merchandise and entertainment

                                     24   depicting characters from its “Duffy and Friends” line, namely

                                     25   ‘Olu or ‘Olu Mel and that such actions constitute unlawful

                                     26   infringements of Plaintiffs’ copyrights and constitute other

                                     27   wrongful acts, all as alleged herein.

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                                                         COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1      8.      Plaintiffs are ignorant of the true names and capacities

                                      2   of Defendants sued herein as DOES 1 through 10, inclusive, and

                                      3   therefore sue these Defendants by these fictitious names.

                                      4   Plaintiffs will amend this complaint to allege their true names

                                      5   and capacities when ascertained.               Plaintiffs are informed and

                                      6   believe and thereon allege that each of the fictitiously named

                                      7   Defendants is responsible in some manner for the occurrences

                                      8   herein alleged, and that Plaintiffs’ damages as herein alleged

                                      9   were proximately caused by those Defendants.

                                     10      9.      Plaintiffs are informed and believe and thereon allege

                                     11   that at all times material to this complaint, each of the

                                     12   Defendants, and each of the Defendants fictitiously named in this
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                                          complaint, in addition to acting for himself, herself, or itself
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                                     14   and on his, her, or its own behalf individually, is and was

                                     15   acting as the agent, servant, employee and representative of, and

                                     16   with the knowledge, consent and permission of, and in conspiracy

                                     17   with, each and all of the Defendants and with the course, scope

                                     18   and authority of that agency, service, employment,

                                     19   representation, and conspiracy.               Plaintiffs further allege on

                                     20   information and belief that the acts of each of the Defendants

                                     21   were fully ratified by each and all of the Defendants.

                                     22   Specifically, and without limitation, Plaintiffs allege on

                                     23   information and belief that the actions, failures to act,

                                     24   breaches, conspiracy, and misrepresentations alleged herein and

                                     25   attributed to one or more of the specific Defendants were

                                     26   approved, ratified, and done with the cooperation and knowledge

                                     27   of each and all of the Defendants. Any reference to the named

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                                      1   defendants herein shall also constitute a reference to DOES 1

                                      2   through 10.

                                      3                                   FACTUAL BACKGROUND

                                      4   Plaintiffs’ Business and Intellectual Property

                                      5      10.     Enos has been creating family entertainment for over 20

                                      6   years.    In 2011, he formed the Hawaiian entity, Johnson

                                      7   Entertainment, LLC, which is the owner of numerous federal and

                                      8   international trademark and copyright registrations at the heart

                                      9   of his branded entertainment enterprises and at controversy

                                     10   herein. Throughout his career, Enos has also worked as an

                                     11   associate and consultant for other entertainment companies,

                                     12   including Defendants, The Walt Disney Company and Disney
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                                          Enterprises, Inc. (collectively “Disney”).
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                                     13

                                     14      11.     In or around 2006, Enos created “Honu By The Sea,” a

                                     15   series of musical compositions and animated characters embracing

                                     16   the culture and locality of Hawaii. The overarching theme of Honu

                                     17   By The Sea is caring for and preserving marine life and the

                                     18   ocean. The main character is “Honu,” a green and yellow sea

                                     19   turtle with blue eyes who plays the ukulele. An iteration of the

                                     20   Honu character artwork created by Enos is attached hereto as

                                     21   Exhibit “1”.

                                     22      12.     Due to its popularity, especially in Hawaii and

                                     23   overseas, Enos expanded Honu By The Sea to include live

                                     24   theatrical performances, books, and a musical collection entitled

                                     25   “Mele Series.” There is also an entire cast of characters

                                     26   featured in the line which have been the subject of merchandise

                                     27   such as apparel and musical instruments. The stage production has

                                     28

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                                                         COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1   been performed in Hawaii, Australia, California, Tokyo among

                                      2   other locations.

                                      3   Defendants’ Unlawful Conduct

                                      4      13.     Enos previously worked as an independent contractor for

                                      5   Disney in the capacity of a songwriter and producer. In 2008,

                                      6   Enos met with Disney employees Shelby Jiggets and Marilyn Magness

                                      7   at the offices of Walt Disney Imagineering in Glendale,

                                      8   California. Enos discussed Honu By The Sea with Jiggets and

                                      9   Magness during a lunch meeting to see if there was any interest

                                     10   in working together on Honu By The Sea future endeavors.

                                     11   Plaintiffs are informed and believe and thereon allege that

                                     12   Disney creative executives including Magness attended live
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                                          theatrical performances of Honu By The Sea in 2012 in Waikiki,
     Encino, California 91436




                                     13

                                     14   Hawaii and in 2015 at the Hawaii Theater in downtown Honolulu,

                                     15   Hawaii.

                                     16      14.     Plaintiffs are informed and believe and thereon allege

                                     17   that in or around 2018, Disney unveiled its “Friends of Duffy”

                                     18   characters and entertainment at its Aulani Resort which it owns

                                     19   and operates in Ko Olina, Hawaii. One of these characters, ‘Olu,

                                     20   happens to be a sea turtle with strikingly similar features to

                                     21   Plaintiff’s Honu. Like Honu, ‘Olu has bright blue eyes, similar

                                     22   spotting on the hands and feet, and plays the ukulele.

                                     23      15.     What’s more, the two characters have phonetically

                                     24   similar names and Disney even subsequently changed its

                                     25   character’s name to “‘Olu Mel” which blatantly copies Plaintiffs’

                                     26   Honu “Mele series” in which its Honu character performs a

                                     27   collection of songs with his ukulele. An example of Disney’s ‘Olu

                                     28   Mel artwork is attached hereto as Exhibit “2”. Disney continues

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                                                         COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1   to exploit the Olu Mel character by, among other things, offering

                                      2   public performances and selling merchandise.

                                      3      16.     Plaintiffs are informed and believe and thereon allege

                                      4   that Disney has further infringed on and interfered with

                                      5   Plaintiffs’ intellectual property overseas by licensing the use

                                      6   of the Olu/Olu Mel character to the Oriental Land Company, Ltd.

                                      7   (“OLC”), which owns and operates the Tokyo Disney Resort in

                                      8   Japan. OLC has and continues to use Disney’s infringing works to

                                      9   sell merchandise and perform live shows in a region where

                                     10   Plaintiffs not only established use of Honu By The Sea, but also

                                     11   expended significant efforts to promote Honu By The Sea

                                     12   commercially.
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                                                                       FIRST CLAIM FOR RELIEF
     Encino, California 91436




                                     13

                                     14                               (COPYRIGHT INFRINGEMENT)

                                     15      17.     Plaintiffs incorporate by this reference all prior
                                     16   paragraphs as if set forth in full in this cause of action.
                                     17      18.     Honu By The Sea and the Honu character are original
                                     18   works of authorship fixed in a tangible means of expression that
                                     19   constitute graphic works pursuant to 17 U.S.C. § 102(a) and that
                                     20   is subject to copyright protection under the Copyright Act, 17
                                     21   U.S.C. §§ 101 et seq.
                                     22      19.     Defendants had access to Plaintiffs’ work as described
                                     23   herein. By producing and distributing works depicting the Duffy
                                     24   and Friends character ‘Olu/’Olu Mel, Defendants have unlawfully
                                     25   copied Honu as a composition and its protectable elements without
                                     26   Plaintiffs’ authorization or consent.
                                     27      20.     Defendants’ conduct constituted, and continues to
                                     28   constitute, infringement upon Johnson’s exclusive rights to

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                                      1   reproduce, copy, create derivative works based upon, and

                                      2   distribute Honu, all in violation of 17 U.S.C. §§ 106 and 501.

                                      3      21.     Defendants’ infringement was, and continues to be

                                      4   willful and in blatant disregard of Plaintiffs’ rights.

                                      5      22.     Defendants’ infringing conduct has caused Plaintiffs to

                                      6   suffer damages and harm, including but not limited to lost

                                      7   derivative market exploitation opportunity, lost revenues and

                                      8   profits and other damages, including attorneys’ fees, in an

                                      9   amount according to proof at trial, but not less than the

                                     10   jurisdictional limit of this court. Plaintiffs will seek leave of

                                     11   court to amend this Complaint to state the exact amount of its

                                     12   damages when the same has been ascertained.
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                                                                       SECOND CLAIM FOR RELIEF
     Encino, California 91436




                                     13

                                     14               (Unfair Competition/Unfair Business Practices)
                                               (California Business and Professions Code § 17200 et seq.)
                                     15
                                             23.     Plaintiffs incorporate by this reference all prior
                                     16
                                          paragraphs as if set forth in full in this cause of action.
                                     17
                                             24.     Defendants, by means of conduct above, have engaged in,
                                     18
                                          and are engaging in, unlawful, unfair, fraudulent and/or
                                     19
                                          deceptive business practices within the meaning of California
                                     20
                                          Business and Professions Code § 17200 et seq.
                                     21
                                             25.     Plaintiffs are informed and believe and thereon alleges
                                     22
                                          that Defendants’ actions were willful, oppressive, and without
                                     23
                                          regard to Plaintiff’s legal and proprietary rights.
                                     24
                                             26.     Defendants’ unlawful and unfair business acts and
                                     25
                                          practices are a direct and proximate cause of injury to
                                     26
                                          Plaintiffs, including loss of customers, dilution of good will,
                                     27
                                          injury to reputation, and diminution in the value of its
                                     28
                                          intellectual property.
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                                      1      27.     Pursuant to California Business & Professions Code §

                                      2   17203, Plaintiffs seeks an order from this Court prohibiting

                                      3   Defendants from engaging or continuing to engage in the unlawful,

                                      4   unfair, or fraudulent business acts or practices set forth in

                                      5   this Complaint.

                                      6      28.     Plaintiffs additionally request on order from this Court

                                      7   requiring that Defendants disgorge profits and pay to Plaintiff

                                      8   all of Defendants ill-gotten gains obtained from the unlawful

                                      9   acts.

                                     10                                THIRD CLAIM FOR RELIEF

                                     11       (Unfair Competition under the Lanham Act (15 U.S.C. § 1125))

                                     12      29.     Plaintiffs incorporate by this reference all prior
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                                     13   paragraphs as if set forth in full in this cause of action.
                                     14      30.     Section 43(a) of the Lanham Act prohibits commercial
                                     15   activities that tend to mislead the consuming public, including
                                     16   but not limited to false or misleading descriptions or
                                     17   representations of fact concerning the origin, sponsorship, or
                                     18   approval of services or commercial activities or
                                     19   misrepresentation of their nature, characteristics, qualities or
                                     20   geographic origins.
                                     21      31.     Disney has violated the Lanham Act by engaging in a
                                     22   pattern of commercial behavior designed to mislead the consuming
                                     23   public as they relate to the Olu/Olu Mel character including
                                     24   using a similar name, design and overall appearance as
                                     25   Plaintiff’s Honu By The Sea products and services.
                                     26      32.     Disney’s misleading conduct has actually deceived and
                                     27   has the tendency to substantially deceive the public in that it
                                     28   is likely to influence the economic decisions by Johnson’s

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                                      1    existing and potential customers and business relations. Disney

                                      2    has thus caused and continues to cause Plaintiffs significant

                                      3    reputational harm and damage to its business interests, including

                                      4    lost sales, in an amount to be determined at trial.

                                      5                                 FOURTH CLAIM FOR RELIEF

                                      6                                   (Declaratory Relief)

                                      7       33.     An actual controversy has arisen and now exists relating

                                      8    to the rights and duties of Plaintiff and Defendants under U.S.

                                      9    copyright laws in that Plaintiffs contend that Defendants’ use,

                                     10    reproduction, marketing, sale and distribution of the ‘Olu/’Olu

                                     11    Mel character infringe upon Plaintiffs’ exclusive copyrights in

                                     12    Honu. Plaintiffs are informed and believe, and upon such
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                                           information and belief allege, that Defendants contend that their
     Encino, California 91436




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                                     14    use, reproduction, marketing, sale and distribution of ‘Olu/’Olu

                                     15    Mel are lawful and do not infringe any of Plaintiffs’ rights.

                                     16       34.     A judicial declaration is necessary and appropriate at

                                     17    this time under the circumstances presented so that the parties

                                     18    may ascertain their respective rights.

                                     19       35.     Pursuant to the Declaratory Judgment Act, 28 U.S.C.,

                                     20    Plaintiffs are entitled to a judicial determination of their

                                     21    rights and a judicial declaration that Defendants’ use,

                                     22    reproduction, marketing, sale and distribution of ‘Olu/’Olu Mel

                                     23    infringe upon Plaintiffs’ exclusive rights in Honu in violation

                                     24    of the U.S. copyright laws.

                                     25                                     PRAYER FOR RELIEF

                                     26      WHEREFORE, Plaintiffs pray for judgment against Defendants as

                                     27    follows:

                                     28       1. For damages according to proof at trial;


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                                                          COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
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                                      1       2. For a preliminary and permanent injunction order enjoining

                                      2          and restraining Defendants and their agents, servants,

                                      3          employees, successors and assigns, and all other persons

                                      4          acting in concert with or in conspiracy with or affiliated

                                      5          with Defendants, from

                                      6             a. Directly or indirectly infringing or authorizing

                                      7                infringement of any of Plaintiffs’ copyrights in Honu

                                      8                By The Sea or the Honu character;

                                      9             b. Directly or indirectly engaging in any conduct that

                                     10                tends or is likely to confuse, mislead, or deceive

                                     11                purchasers, customers, and/or members of the public to

                                     12                believe that Defendants and/or their goods are
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                                                       connected with Plaintiffs, are sponsored, approved, or
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                                     14                licensed by Plaintiffs, or are in some way connected or

                                     15                affiliated with Plaintiffs;

                                     16             c. Engaging in any other activity constituting unfair

                                     17                competition with Plaintiffs, or acts and practices that

                                     18                deceive consumers, the public, and/or trade.

                                     19       3. For a judgment ordering Defendants pursuant to 15 U.S.C. §

                                     20          1116(a) and/or 17 U.S.C. § 502 to file with this Court and

                                     21          serve upon Plaintiffs within thirty (30) days after entry of

                                     22          the injunction, a report in writing and under oath setting

                                     23          forth in detail the manner and form in which Defendants have

                                     24          complied with the injunction and implemented adequate and

                                     25          effective means to discontinue using the infringing

                                     26          intellectual property and/or unfair business practices;

                                     27       4. For recoverable costs and attorney’s fees pursuant to 17

                                     28          U.S.C. § 505;

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                                      1       5. For prejudgment interest on all amounts for which Defendants

                                      2          may be liable to Plaintiffs, in an amount to be determined

                                      3          at trial;

                                      4       6. For a judicial declaration that Defendants’ use,

                                      5          reproduction, marketing, sale and distribution of ‘Olu/’Olu

                                      6          Mel infringe on Plaintiffs’ exclusive rights in Honu under

                                      7          copyright laws;

                                      8       7. For such other and further relief the Court deems just and

                                      9          proper.

                                     10    DATED:                                 AARONSON & AARONSON

                                     11

                                     12                                           By:/s/ Arthur Aaronson_________
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                                                                                  ARTHUR AARONSON
     Encino, California 91436




                                     13                                           Attorneys for Plaintiffs JOHN
                                                                                  WILLIAM KAIPO ENOS and JOHNSON
                                     14                                           ENTERTAINMENT, LLC
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                                      1                                  DEMAND FOR JURY TRIAL

                                      2          Plaintiffs John William Kaipo Enos and Johnson

                                      3    Entertainment, LLC hereby demand a trial by jury pursuant to Fed.

                                      4    R. Civ. P. 38(b) and Civil Local Rule 38-1.

                                      5

                                      6    DATED:                                AARONSON & AARONSON

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                                      8
                                                                                 By: /s/ Arthur Aaronson
                                      9                                          ARTHUR AARONSON
                                                                                 Attorneys for Plaintiffs JOHN
                                     10                                          WILLIAM KAIPO ENOS and JOHNSON
                                                                                 ENTERTAINMENT, LLC
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     Encino, California 91436




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                                                          COMPLAINT FOR DAMAGES, DECLARATORY RELIEF, AND INJUNCTIVE RELIEF
